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                                                                                      Jack J. Malley
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                                              February 22, 2024
VIA ECF
Hon. Kenneth M. Karas
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas St.
White Plains, NY 10601-4150

                            Re: Carlos Ocampo et al. v. 455 Hospitality LLC et al.
                                Case No. 14 CV 9614 (KMK)(PED)
Dear Judge Karas:

        This firm, along with Vincent Volino PLLC, represent Plaintiffs in the above-referenced
action. We write to respectfully request that the Court reopen the case per the Order of Dismissal
(Dkt 518) that Your Honor issued on December 26, 2023 and rescind the order for the reasons set
forth herein.

        By way of background, on May 9, 2023 Plaintiffs submitted a motion for an order
preliminarily approving the Class and FLSA Collective Action Settlement Agreement and Release
the parties agreed to. (Dkt 491). By letters filed on June 30, 2023 (Dkt 509) and September 22,
2023 (Dkt 513), we notified the Court that the parties were discussing potential amendments to
terms in the settlement agreement that had been submitted to the Court for approval. Further, by
the September 22, 2023 letter, we asked the Court to hold the motion for settlement approval that
was filed on May 9, 2023 in abeyance until after the parties concluded negotiations of a potential
amended settlement agreement to be monitored by Magistrate Judge Victoria Reznik, which the
Court granted. (Dkt 514). On or about December 22, 2023, the parties reached an amended
settlement in principle and Magistrate Judge Reznick notified Your Honor of the settlement on or
about that day. Per the Court’s order dated January 31, 3024 (Dkt 522), Plaintiffs are to submit a
motion seeking preliminary approval of the amended agreement by February 29, 2024.

         As the Court is aware, the process for final approval of the settlement includes, among
other things, the Court's preliminary approval of the settlement, a period for dissemination of
notice of the settlement to class members, a period during which class members can object to the
settlement, and a final settlement approval hearing, all of which will, realistically speaking, take
at least nine months.

        Given these circumstances, we respectfully submit that the case should be in active status
until the Court issues a final settlement approval order so the Court can address any issues that
may arise during the approval process without an application by a party to re-open the case.
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        As such, we respectfully request that the Court issue an order reopening the case and
rescinding the Order of Dismissal issued on December 26, 2023. The Order of Dismissal provides
that parties may submit an application to reopen the case within 60 days of it being issued. As
such, this application is timely. In addition, all parties consent to this application

       Thank you for your time and consideration.

                                                       Very truly yours,

                                                       /s/ John J. Malley
                                                       John J. Malley


cc: Counsel of Record (Via ECF)

                                              The Clerk of Court is respectfully requested to reopen this
                                              case.

                                              SO ORDERED.

                                              3/4/24




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